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                  IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                       No. 21-CR-53 (CJN)
             v.

EDWARD JACOB LANG,

                    Defendant.


      DEFENDANT LANG’S MOTION TO DISMISS COUNT NINE:
          OBSTRUCTION OF AN OFFICIAL PROCEEDING

      Defendant, Edward Jacob Lang (“Jake” or “Mr. Lang”), by and through his

counsel, respectfully submits this motion to dismiss the indictment as to Count 9:

obstruction of an official proceeding under 18 U.S.C. § 1512(c)(2) because the

Government has failed to state an essential element of the offense. Where an indictment

is defective for failing to state an offense, a pretrial motion to dismiss the defective

indictment is warranted and the Court must dismiss an indictment which fails to state

all essential elements of the crime charged. FEDERAL RULES           OF   CRIM. PRO. 12

(b)(3)(B)(v). First, the allegations regarding Mr. Lang do not fit within the scope of the

meaning of 18 U.S.C. § 1512(c)(2). Second, as a matter of law, the Electoral College

certification in the Capitol building on January 6, 2021 was not an “official proceeding”

under 18 U.S.C. § 1512(c)(2) or 18 U.S.C.S. § 1515(a)(1) and thus the charge must be

dismissed. A memorandum in support is being simultaneously submitted.



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Dated: April 5, 2022

                                         Respectfully Submitted,
                                         /s/
                                         _________________________
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                                         /s/ Steven A. Metcalf II, Esq.
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                          CERTIFICATE OF SERVICE

I hereby certify that, on April 5, 2022, the forgoing document was filed via the Court’s
electronic filing system, which constitutes service upon all counsel of record.


                                               Respectfully Submitted,

                                                /s/
                                               _________________________
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              IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

         v.
                                             No. 21-CR-53 (CJN)
EDWARD JACOB LANG,

                Defendant.




    MEMORANDUM IN SUPPORT OF DEFENDANT LANG’S
   MOTION TO DISMISS COUNT NINE OF THE SUPERSEDING
     INDICTMENT FOR FAILURE TO STATE AN OFFENSE




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      Defendant Edward Jacob Lang, by and through his counsel, hereby moves to

dismiss Count Nine of the Superseding Indictment and, in support of the motion, sets

forth the following facts and arguments.

                                  I. INTRODUCTION

      Count Nine of the Superseding Indictment charges Mr. Lang as follows:

             On or about January 6, 2021, within the District of Columbia
             and elsewhere, EDWARD JACOB LANG, attempted to,
             and did, corruptly obstruct, influence, and impede an official
             proceeding, that is, a proceeding before Congress,
             specifically, Congress’s certification of the Electoral College
             vote as set out in the Twelfth Amendment of the
             Constitution of the United States and 3 U.S.C. §§ 15-18


(See Superseding Indictment attached as Exhibit A).

      An indictment must be a “plain, concise, and definite written statement of the

essential facts constituting the offense charged.” FED. R. CRIM. P. 7(c)(1), and “must

provide the defendant sufficient detail to allow him to prepare a defense, to defend

against a subsequent prosecution of the same offense, and to ensure that he be

prosecuted upon facts presented to the grand jury.” United States v. Apodaca, 275 F. Supp.

3d 123, 153 (D.D.C. 2017) (citing Russell v. United States, 369 U.S. 749 (1962); Stirone v.

United States, 361 U.S. 212 (1960)). A defendant “may raise by pretrial motion any

defense, objection, or request that the Court can determine without a trial on the

merits.” FED. R. CRIM. P. 12(b)(3)(B). Rule 12 provides that a defendant may also move




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to dismiss the indictment for “failure to state an offense” and “lack of specificity.” FED.

R. CRIM. P. 12(b)(3)(B)(iii), (v).

       Section 1512(c) falls under Chapter 73 of Title 18, which clearly deals with

“Obstruction of Justice.” See 18 U.S.C. §§ 1501–1521. As the Ninth Circuit has

emphasized – the plain language of the Section 1512(c) statute does not prohibit the

obstruction of every governmental function. Actions that should be criminalized are

only obstruction of proceedings such as a hearing that takes place before a tribunal. See

United States v. Ermoian, 752 F.3d 1165, 1171 (9th Cir. 2013). Stated otherwise, various

defense attorneys for January 6 Defendants have taken the position that Section

1512(c), by its plain language, does not criminalize the obstruction of legislative action

by Congress.

       Regardless of such position or argument, the main issue here is whether Mr.

Lang’s alleged actions fall within Section 1512(c) when he is not alleged to have

destroyed documents used in any January 6th “proceeding”. His presence near the

Capitol did not directly go after the vote counting, and do not fall within the confines

or constitute “corruptly…obstruct[ing], influenc[ing], or imped[ing]” the “official

proceeding”.

       A valid interpretation as to how Section 1512(c) should be applied is articulated

in a June 8, 2018 memorandum Bill Barr wrote to Deputy Attorney General Rod

Rosenstein and Assistant Attorney General Steve Engel. (See “the Muller Memo”

attached as Exhibit B). In the memo, Barr explains the following:
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             As things stand, obstruction laws do not criminalize just any
             act that can influence a "proceeding." Rather they are
             concerned with acts intended to have a particular kind of
             impact. A "proceeding" is a formalized process for finding
             the truth. In general, obstruction laws are meant to protect
             proceedings from actions designed subvert the integrity of
             their truth-finding function through compromising the
             honesty of decision-makers (e.g.,judge,jury) or impairing the
             integrity    or    availability   of      evidence-testimonial,
             documentary, or physical. Thus, obstruction laws prohibit a
             range of "bad acts" - such as tampering with a witness or
             juror; or destroying, altering, or falsifying evidence - all of
             which are inherently wrongful because, by their very nature,
             they are directed at depriving the proceeding of honest
             decision-makers or access to full and accurate evidence. In
             general, then, the actus reus of an obstruction offense is the
             inherently subversive "bad act" of impairing the integrity of
             a decision-maker or evidence. The requisite mens rea is
             simply intending the wrongful impairment that inexorably
             flows from the act.

(See Muller Memo at p. 1 attached as Exhibit B).

      For the same reasons explained in the Muller memo, here the Government’s

indictment is defective with regard to 18 U.S.C. § 1512(c)(2) because it fails to state an

essential element of the offense. 1512(c)(2) requires Mr. Lang to have “otherwise

obstruct[ed], influence[ed], or impede[ed] any official proceeding.” As this Court found

in Miller, “§ 1512(c)(2) must be interpreted as limited by subsection (c)(1), and thus

requires that the defendant have taken some action with respect to a document, record,

or other object in order to corruptly obstruct, impede or influence an official

proceeding.” US v. Miller, 1:21-cr-00119 (CJN) at p. 28 (ECF Doc. 72).




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                            II.     ARGUMENT

           MR. LANG’S ALLEGED CONDUCT DOES NOT FIT
                        THE 1512 CHARGE

       Count nine of violating 18 U.S.C. 1512 (c)(2) simply does not apply to Lang’s

conduct. Section 1512 is entitled “Tampering with a witness, victim, or an informant”,

which facially suggests that its subsections deal with judicial-type proceedings where a

“witness, victim, or informant” is expected to testify. Under Section 1512, the full

subsection (c) states as follows:

            (c) Whoever corruptly—

                (1) alters, destroys, mutilates, or conceals a record,
                    document, or other object, or attempts to do so, with
                    the intent to impair the object’s integrity or availability
                    for use in an official proceeding; or

                (2) otherwise obstructs, influences, or impedes any
                    official proceeding, or attempts to do so, shall be
                    fined under this title or imprisoned not more than 20
                    years, or both.

       Here, Mr. Lang did not destroy documents used in the proceeding. His presence

in at the Capitol did not directed to go after the vote counting was temporarily

suspended does not constitute “corruptly…obstruct[ing], influenc[ing], or imped[ing]”

the “official proceeding”. As such, the government did not even allege that Lang

intended to “influence” the vote counting inside.

       Senator Schumer was not deemed to have been “. . . corruptly . . . influencing”

an official proceeding for protesting outside of the U.S. Supreme Court building in

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March 2020. The crowd gathered and threatened Associate Justices Gorsuch and

Kavanaugh, while oral argument was taking place during an abortion case. 1 Protesting

and remaining outside of a building is contrary to the actions Section 1512 was designed

to cover, such as FBI attorney, Kevin Clinesmith, who was sentenced to probation,

after being charged with altering a CIA email that was subsequentially used to

improperly obtain a FISA warrant.2

          More importly, here the Superseding Indictment of Mr. Lang alleges a violation

of 18 U.S.C. § 1512(c)(2) and 18 U.S.C. § 2, with what the government entitles

“Obstruction of an Official Proceeding and Aiding and Abetting”. Id. at p. 5. The

Indictment provides no other facts in support of this Count. Therefore, it is respectfully

submitted that Count Nine be dismissed against Mr. Lang because § 1512(c)(2) must be

read as a catchall to the narrowly focused subsection preceding it, § 1512(c)(1), which

does not apply or fit the allegations in this matter.

          Respectfully, § 1512(c)(2) must be limited to “conduct [that] undermined the

official proceeding’s truth-finding function through actions impairing the integrity and

availability of evidence.” US v. Miller, 1:21-cr-00119 (CJN) at p. 28 (ECF Doc. 72).

Lang, however, is not alleged to have taken such actions, and cannot be said to have

“undermined the official proceeding’s truth-finding function”. Id. The Superseding


1
 See https://nlpc.org/2020/03/06/ethics-bar-complaints-filed-against-sen-schumer-on-supreme-
court-threats/.
2
    See also https://nlpc.org/2021/01/29/miscarriage-of-justice-as-clinesmith-gets-slap-on-the-wrist/.
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Indictment is devoid allegations that Mr. Lang also impaired “the integrity and

availability of evidence.” Instead, Count Nine of the Superseding Indictment alleges

only that Lang “attempted to, and did, corruptly obstruct, influence, and impede an

official proceeding, that is, a proceeding before Congress, specifically, Congress’s

certification of the Electoral College vote as set out in the Twelfth Amendment of the

Constitution of the United States and 3 U.S.C. §§ 15–18.” (See Indictment at p. 5

attached as Exhibit A). 2–3.

       Nothing in Count Nine, or the entire Indictment, alleges or can be said to imply

that Lang “took some action with respect to a document, record, or other object in

order to corruptly obstruct, impede or influence Congress’s certification of the electoral

vote.” US v. Miller, 1:21-cr-00119 (CJN) at p. 28 (ECF Doc. 72).

       Overall, Lang’s Indictment is devoid a single allegation that he took or attempted

to take any action with respect to those records or documents. “Absent such an

allegation, the Indictment fails to allege a violation of 18 § U.S.C. 1512(c)(2).” US v

Miller at p. 28.

                                   III. CONCLUSION

       Under the statute’s plain language and structure, the most natural and plausible

reading of 1512(c)(2) is that it covers acts that have the same kind of obstructive impact as

the listed forms of obstruction - i.e., impairing the availability or integrity of evidence.

Under such understanding, Mr. Lang’s actions cannot be said to even allege conduct



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                                                                  that fits into such charge. Therefore, it is respectfully submitted that Count Nine of
                                                                  the Superseding Indictment against Mr. Lang be dismissed.
                                                                                                                  Respectfully submitted,
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                                                                                                                  STEVEN A. METCALF II, ESQ.
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   METCALF & METCALF, P.C.
ATTORNEYS•AT•LAW




                       Exhibit A




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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

                            Holding a Criminal Term

                   Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA                    CRIMINAL NO. 21-CR-53        (CJ N)
        v.                                  MAGISTRATE NO. 21-MJ-061

EDWARD JACOB LANG,                         VIOLATIONS:
                                           18 U.S.C. § lll(a)(l)
             Defendant.                    (Assaulting, Resisting, or Impeding
                                           Certain Officers)
                                           18 U.S.C. §§ lll(a)(l) and (b)
                                           (Assaulting, Resisting, or Impeding
                                           Certain Officers Using a Dangerous
                                           Weapon)
                                           18 U.S.C. §§ lll(a)(l) and (b)
                                           (Assaulting, Resisting, or Impeding
                                           Certain Officers Using a Dangerous
                                           Weapon and Inflicting Bodily Injury on
                                           Certain Officers)
                                           18 U.S.C. § 23l(a)(3)
                                           (Civil Disorder)
                                           18 U.S.C. § 1512(c)(2)
                                           (Obstruction of an Official Proceeding)
                                           18 u.s.c § 2
                                           (Aiding and Abetting)
                                           18 U.S.C. § 1752(a)(2) and (b)(l)(A)
                                           (Disorderly and Disruptive Conduct in a
                                           Restricted Building or Grounds with a
                                           Deadly or Dangerous Weapon)
                                           18 U.S.C. § 1752(a)(4) and (b)(l)(A)
                                           (Engaging in Physical Violence in a
                                           Restricted Building or Grounds with a
                                           Deadly or Dangerous Weapon)
                                           40 U.S.C. § 5104(e)(2)(D)
                                           (Disorderly Conduct in
                                           a Capitol Building)
                                           40 U.S.C. § 5104(e)(2)(F)
                                           (Act of Physical Violence in the Capitol
                                           Grounds or Buildings)

                          SUPERSEDING INDICTMENT
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       The Grand Jury charges that:

                                          COUNT ONE

       On or about January 6, 2021, at or around 2:57 p.m., within the District of Columbia,

EDWARD JACOB LANG, did forcibly assault, resist, oppose, impede, intimidate, and interfere

with an officer and employee of the United States, and of any branch of the United States

Government (including any member of the uniformed services), and any person assisting such an

officer and employee, that is, Sgt. J.M., an officer from the Metropolitan Police Department, while

such person was engaged in and on account of the performance of official duties, and where the

acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.


       (Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
       violation of Title 18, United States Code, Sections 111(a)(l) and 2)
                                         COUNT TWO

       On or about January 6, 2021, at or around 3:08 p.m. to 3:13 p.m., within the District of

Columbia, EDWARD JACOB LANG did forcibly assault, resist, oppose, impede, intimidate, and

interfere with an officer and employee of the United States, and of any branch of the United States

Government (including any member of the uniformed services), and any person assisting such an

officer and employee, while such person was engaged in and on account of the performance of

official duties, and where the acts in violation of this section involve physical contact with the

victim and the intent to commit another felony.


       (Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
       violation of Title 18, United States Code, Sections 11l(a)(l) and 2)
                                        COUNT THREE

       On or about January 6, 2021, at or around 4:01 p.m. to 4:02 p.m., within the District of


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Columbia, EDWARD JACOB LANG did forcibly assault, resist, oppose, impede, intimidate, and

interfere with an officer and employee of the United States, and of any branch of the United States

Government (including any member of the uniformed services), and any person assisting such an

officer and employee, that is, Det. W.M. an officer from the Metropolitan Police Department,

while such person was engaged in and on account of the performance of official duties, and where

the acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.


       (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
       States Code, Section 111(a)(l ))
                                          COUNT FOUR
       On or about January 6, 2021, at or around 4:10 p.m. to 4:13 p.m., within the District of

Columbia, EDWARD JACOB LANG did forcibly assault, resist, oppose, impede, intimidate, and

interfere with an officer and employee of the United States, and of any branch of the United States

Government (including any member of the uniformed services), and any person assisting such an

officer and employee, that is, Det. P.N., an officer from the Metropolitan Police Department, while

such person was engaged in and on account of the performance of official duties, and where the

acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.


       (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
       States Code, Section 111(a)(l ))
                                           COUNT FIVE

       On or about January 6, 2021, at or around 4:44 p.m. to 4:46 p.m., within the District of

Columbia, EDWARD JACOB LANG, using a deadly and dangerous weapon, that is, a shield,

did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and employee


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of the United States, and of any branch of the United States Government (including any member

of the uniformed services), and any person assisting such an officer and employee, that is, Officer

T.C., an officer from the Metropolitan Police Department, while such officer or employee was

engaged in or on account of the performance of official duties, and where the acts in violation of

this section involve physical contact with the victim and the intent to commit another felony.


        (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
        violation of Title 18, United States Code, Sections 11 l(a)(l) and (b))
                                            COUNT SIX

        On or about January 6, 2021, at or around 4:54 p.m. to 5:00 p.m., within the District of

Columbia, EDWARD JACOB LANG, using a deadly and dangerous weapon, that is, a bat, did

forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and employee of

the United States, and of any branch of the United States Government (including any member of

the uniformed services), and any person assisting such an officer and employee, that is, Officer

I.F., an officer from the Metropolitan Police Department, while such officer or employee was

engaged in or on account of the performance of official duties, and where the acts in violation of

this section involve physical contact with the victim and the intent to commit another felony.


       (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
       violation of Title 18, United States Code, Sections 11l(a)(l) and (b))
                                          COUNT SEVEN

       On or about January 6, 2021, at or around 4:54 p.m. to 5:00 p.m., within the District of

Columbia, EDWARD JACOB LANG, using a deadly and dangerous weapon, that is, a bat, did

forcibly assault, resist, oppose, impede, intimidate, and interfere with, and inflict bodily injury on,

an officer and employee of the United States, and of any branch of the United States Government

(including any member of the uniformed services), and any person assisting such an officer and


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employee, that is, Officer H.S., an officer from the Metropolitan Police Department, while such

officer or employee was engaged in or on account of the performance of official duties, and where

the acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.


       (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon,
       Inflicting Bodily Injury in violation of Title 18, United States Code, Sections 11l(a)(l)
       and (b))
                                          COUNT EIGHT

       On or about January 6, 2021, within the District of Columbia, EDWARD JACOB LANG

committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement officer lawfully engaged in the lawful performance of his/her official duties incident

to and during the commission of a civil disorder which in any way and degree obstructed, delayed,

and adversely affected commerce and the movement of any article and commodity in

commerce and the conduct and performance of any federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 23l(a)(3))

                                           COUNT NINE

       On or about January 6, 2021, within the District of Columbia and elsewhere, EDWARD

JACOB LANG attempted to, and did, corruptly obstruct, influence, and impede an official

proceeding, that is, a proceeding before Congress, specifically, Congress's certification of the

Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United

States and 3 U.S.C. §§ 15-18.

       (Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
       18, United States Code, Sections 1512(c)(2) and 2)

                                           COUNT TEN

       On or about January 6, 2021, in the District of Columbia, EDWARD JACOB LANG did

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knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President and Vice President-

elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions arid, during and in relation to the

offense, did use and carry a deadly and dangerous weapon, that is, a bat and shield.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, with a
       Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
       1752(a)(2) and (b)(l)(A))

                                       COUNT ELEVEN

       On or about January 6, 2021, in the District of Columbia, EDWARD JACOB LANG did

knowingly, engage in any act of physical violence against any person and property in a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

United States Capitol and its grounds, where the Vice President and Vice President-elect were

temporarily visiting and, during and in relation to the offense, did use and carry a deadly and

dangerous weapon, that is, a bat and shield.

       (Engaging in Physical Violence in a Restricted Building or Grounds, with a Deadly
       or Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4)
       and (b)(l)(A))
                                       COUNT TWELVE

       On or about January 6, 2021, within the District of Columbia, EDWARD JACOB LANG

willfully and knowingly engaged in disorderly and disruptive conduct within the United States

Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb

the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct



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in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))

                                      COUNT THIRTEEN
       On or about January 6, 2021, in the District of Columbia, EDWARD JACOB LANG

willfully and knowingly engaged in an act of physical violence within the United States Capitol

Grounds and any of the Capitol Buildings.


       (Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title
       40, United States Code, Section 5104(e)(2)(F))

                                             A TRUE BILL:



                                             FOREPERSON.




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and for the District of Columbia.




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   METCALF & METCALF, P.C.
ATTORNEYS•AT•LAW




                       Exhibit B




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MEMORANDUM                                                                   8 June 2018


To:       Deputy Attorney General Rod Rosenstein
          Assistant Attorney General Steve Engel

From:     Bill Barr

Re:        Mueller's "Obstruction" Theory



       I am writing as a former official deeply concerned with the institutions of the Presidency
and the Department of Justice. I realize that I am in the dark about many facts, but I hope my
views may be useful.

        It appears Mueller's team is investigating a possible case of "obstruction" by the President
predicated substantially on his expression of hope that the Corney could eventually "let. .. go" of
its investigation of Flynn and his action in firing Corney. In pursuit of this obstruction theory, it
appears that Mueller's team is demanding that the President submit to interrogation about these
incidents, using the threat of subpoenas to coerce his submission.

        Mueller should not be permitted to demand that the President submit to interrogation about
alleged obstruction. Apart from whether Mueller a strong enough factual basis for doing so,
Mueller's obstruction theory is fatally misconceived. As I understand it, his theory is premised on
a novel and legally insupportable reading of the law. Moreover, in my view, if credited by the
Department, it would have grave consequences far beyond the immediate confines of this case and
would do lasting damage to the Presidency and to the administration of law within the Executive
branch.

        As things stand, obstruction laws do not criminalize just any act that can influence a
"proceeding." Rather they are concerned with acts intended to have a particular kind of impact. A
"proceeding" is a formalized process for finding the truth. In general, obstruction laws are meant
to protect proceedings from actions designed subvert the integrity of their truth-finding function
through compromising the honesty of decision-makers (e.g.,judge,jury) or impairing the integrity
or availability of evidence-testimonial, documentary, or physical. Thus, obstruction laws prohibit
a range of "bad acts" - such as tampering with a witness or juror; or destroying, altering, or
falsifying evidence - all of which are inherently wrongful because, by their very nature, they are
directed at depriving the proceeding of honest decision-makers or access to full and accurate
evidence. In general, then, the actus reus of an obstruction offense is the inherently subversive
"bad act" of impairing the integrity of a decision-maker or evidence. The requisite mens rea is
simply intending the wrongful impairment that inexorably flows from the act.

       Obviously, the President and any other official can commit obstruction in this classic sense
of sabotaging a proceeding's truth-finding function. Thus, for example, if a President knowingly
destroys or alters evidence, suborns perjury, or induces a witness to change testimony, or commits
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any act deliberately impairing the integrity or availability of evidence, then he, like anyone else,
commits the crime of obstruction. Indeed, the acts of obstruction alleged against Presidents Nixon
and Clinton in their respective impeachments were all such "bad acts" involving the impairment
of evidence. Enforcing these laws against the President in no way infringes on the President's
plenary power over law enforcement because exercising this discretion - such as his complete
authority to start or stop a law enforcement proceeding -- does not involve commission of any of
these inherently wrongful, subversive acts.

        The President, as far as I know, is not being accused of engaging in any wrongful act of
evidence impairment. Instead, Mueller is proposing an unprecedented expansion of obstruction
laws so as to reach facially-lawful actions taken by the President in exercising the discretion vested
in him by the Constitution. It appears Mueller is relying on 18 U.S.C. §1512, which generally
prohibits acts undermining the integrity of evidence or preventing its production. Section 1512 is
relevant here because, unlike other obstruction statutes, it does not require that a proceeding be
actually "pending" at the time of an obstruction, but only that a defendant have in mind an
anticipated proceeding. Because there were seemingly no relevant proceedings pending when the
President allegedly engaged in the alleged obstruction, I believe that Mueller's team is considering
the "residual clause" in Section 1512 - subsection (c)(2) - as the potential basis for an obstruction
case. Subsection (c) reads:

                       (c) Whoever corruptly-- (1) alters, destroys, mutilates, or
           conceals a record, document, or other object, or attempts to do so, with the
           intent to impair the object's integrity or availability for use in an official
           proceeding; or (2) otherwise obstructs, influences, or impedes any official
           proceeding, or attempts to do so [is guilty of the crime of obstruction].
           [emphasis added].

        As I understand the theory, Mueller proposes to give clause (c)(2), which previously has
been exclusively confined to acts of evidence impainnent, a new unbounded interpretation. First,
by reading clause (c )(2) in isolation, and glossing over key terms, he construes the clause as a free­
standing, all-encompassing provision prohibiting any act influencing a proceeding if done with an
improper motive. Second, in a further unprecedented step, Mueller would apply this sweeping
prohibition to facially-lawful acts taken by public officials exercising of their discretionary powers
if those acts influence a proceeding. Thus, under this theory, simply by exercising his
Constitutional discretion in a facially-lawful way - for ex.ample, by removing or appointing an
official; using his prosecutorial discretion to give direction on a case; or using his pardoning power
- a President can be accused of committing a crime based solely on his subjective state of mind.
As a result, any discretionary act by a President that influences a proceeding can become the
subject of a criminal grand jury investigation, probing whether the President acted with an
improper motive.

        If embraced by the Department, this theory would have potentially disastrous implications,
not just for the Presidency, but for the Executive branch as a whole and for the Department in
particular. While Mueller's focus is the President's discretionary actions, his theory would apply
to all exercises of prosecutorial discretion by the President's subordinates, from the Attorney
General down to the most junior line prosecutor. Simply by giving direction on a case, or class of
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cases, an official opens himself to the charge that he has acted with an "improper" motive and thus
becomes subject to a criminal investigation. Moreover, the challenge to Corney's removal shows
that not just prosecutorial decisions are at issue. Any personnel or management decisions taken by
an official charged with supervising and conducting litigation and enforcement matters in the
Executive branch can become grist for the criminal mill based solely on the official's subjective
state of mind. All that is needed is a claim that a supervisor is acting with an improper purpose
and any act arguably constraining a case - such as removing a U.S. Attorney -- could be cast as a
crime of obstruction.

        It is inconceivable to me that the Department could accept Mueller's interpretation of
§1512(c)(2). It is untenable as a matter of law and cannot provide a legitimate basis for
interrogating the President. I know you will agree that, if a DOJ investigation is going to take down
a democratically-elected President, it is imperative to the health of our system and to our national
cohesion that any claim of wrongdoing is solidly based on evidence of a real crime - not a
debatable one. It is time to travel well-worn paths; not to veer into novel, unsettled or contested
areas of the law; and not to indulge the fancies by overly-zealous prosecutors.

As elaborated on below, Mueller's theory should be rejected for the following reasons:

First, the sweeping interpretation being proposed for§ 1512's residual clause is contrary to the
statute's plain meaning and would directly contravene the Department's longstanding and
consistent position that generally-worded statutes like§ 1512 cannot be applied to the President's
exercise of his constitutional powers in the absence of a "clear statement" in the statute that such
an application was intended.

Second, Mueller's premise that, whenever an investigation touches on the President's own
conduct, it is inherently "corrupt" under § 1512 for the President to influence that matter is
insupportable. In granting plenary law enforcement powers to the President, the Constitution
places no such limit on the President's supervisory authority. Moreover, such a limitation cannot
be reconciled with the Department's longstanding position that the "conflict of interest" laws do
not, and cannot, apply to the President, since to apply them would impermissibly "disempower"
the President from supervising a class of cases that the Constitution grants him the authority to
supervise.

Third, defining facially-lawful exercises of Executive discretion as potential crimes, based solely
on subjective motive, would violate Article II of the Constitution by impermissibly burdening the
exercise of core discretionary powers within the Executive branch.

Fourth, even if one were to indulge Mueller's obstruction theory, in the particular circumstances
here, the President's motive in removing Corney and commenting on Flynn could not have been
"corrupt'' unless the President and his campaign were actually guilty of illegal collusion. Because
the obstruction claim is entirely dependent on first finding collusion) Mueller should not be
permitted to interrogate the President about obstruction until has enough evidence to establish
collusion.
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I. The Statute's Plain Meaning, and "the Clear Statement" Rule Long Adhered To By the
Department, Preclude Its Application to Facially-Lawful Exercises of the President's
Constitutional Discretion.

        The unbounded construction Mueller would give§1512 's residual clause is contrary to the
provision's text, structure, and legislative history. By its tenns, §1512 focuses exclusively on
actions that subvert the truth-finding function of a proceeding by impairing the availability or
integrity of evidence - testimonial, documentary, or physical. Thus, §1512 proscribes a litany of
specifically-defined acts of obstruction, including killing a witness, threatening a witness to
prevent or alter testimony, destroying or altering documentary or physical evidence, and harassing
a witness to binder testimony. All of these enumerated acts are "obstructive" in precisely the same
way- they interfere with a proceeding's ability to gather complete and reliable evidence.

         The question here is whether the phrase - "or corruptly otherwise obstructs" - in clause
(c)(2) is divorced from the litany of the specific prohibitions in§ 1512, and is thus a free-standing,
all-encompassing prohibition reaching any act that influences a proceeding, or whether the clause's
prohibition against "otherwise" obstructing is somehow tied to, and limited by, the character of all
the other fonns of obstruction listed in the statute. I think it is clear that use of the word "otherwise"
in the residual clause expressly links the clause to the forms of obstruction specifically defined
elsewhere in the provision. Unless it serves that pmpose, the word "otherwise" does no work at all
and is mere surplusage. Mueller's interpretation of the residual clause as covering any and all acts
that influence a proceeding reads the word "otherwise" out of the statute altogether. But any proper
interpretation of the clause must give effect to the word "otherwise;" it must do some work.

         As the Supreme Court has suggested, Begay v. United States, 553 U.S. 137, 142-143
(2008), when Congress enumerates various specific acts constituting a crime and then follows that
enumeration with a residual clause, introduced with the words "or otherwise," then the more
general action referred to immediately after the word "otherwise" is most naturally understood to
cover acts that cause a similar kind of result as the preceding listed examples, but cause those
results in a different manner. In other words, the specific examples enumerated prior to the residual
clause are typically read as refining or limiting in some way the broader catch-all tenn used in the
residual clause. See also Yates v. United States, 135 S.Ct. 1074, 1085-87 (2015). As the Begay
Court observed, if Congress meant the residual clause to be so all-encompassing that it subsumes
all the preceding enumerated examples, "it is hard to see why it would have needed to include the
examples at all." 553 U.S. at l 42; see McDonnell v. United States, 136 S.Ct. 2355, 2369 (2016).
An example suffices to make the point: If a statute prohibits "slapping, punching, kicking, biting,
gouging eyes, or otherwise hurting" another person, the word "hurting" in the residual clause
would naturally be understood as referring to the same kind of physical injury inflicted by the
enumerated acts, but inflicted in a different way - i.e., pulling hair. It normally would not be
understood as referring to any kind of "hurting," such as hurting another's feelings, or hurting
another's economic interests.

        Consequently, under the statute's plain language and structure, the most natural and
plausible reading of 1512(c)(2) is that it covers acts that have the same kind ofobstructive impact
as the listed forms of obstruction - i.e., impairing the availability or integrity of evidence - but
cause this impairment in a different way than the enumerated actions do. Under this construction,
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then, the "catch all" language in clause (c)(2) encompasses any conduct, even if not specifically
described in 1512, that is directed at undermining a proceeding's truth-finding function through
actions impairing the integrity and availability of evidence. Indeed, this is how the residual clause
has been applied. From a quick review of the cases, it appears all the cases have involved attempts
to interfere with, or render false, the evidence that would become available to a proceeding. Even
the more esoteric applications of clause (c)(2) have been directed against attempts to prevent the
flow of evidence to a proceeding. E.g., United States v. Vo/pendesto, 746 F.3d 273 (7th Cir.
2014)(soliciting tips from corrupt cops to evade surveillance); United States v. Phillips, 583 F.3d
1261 (I o•h Cir. 2009)( disclosing identity of undercover agent to subject of grand jury drug
investigation). As far as I can tell, no case has ever treated as an "obstruction" an official's exercise
of prosecutorial discretion or an official's management or personnel actions collaterally affecting
a proceeding.

Further, reading the residual clause as an all-encompassing proscription cannot be reconciled either
with the other subsections of§ 1512, or with the other obstruction provisions in Title 18 that must
be read in pari passu with those in § 1512. Given Mueller's sweeping interpretation, clause (c)(2)
would render all the specific terms in clause (c)( l ) surplusage; moreover, it would swallow up all
the specific prohibitions in the remainder of§ 1512 -- subsections (a), (b), and (d). More than that,
it would subsume virtually all other obstruction provisions in Title 18. For example, it would
supervene the omnibus clause in§ 1503, applicable to pending judicial proceedings, as well as the
omnibus clause in § 1505, applicable to pending proceedings before agencies and Congress.
Construing the residual clause in§ 1512(c)(2) as supplanting these provisions would eliminate the
restrictions Congress built into those provisions -- i.e., the requirement that a proceeding be
"pending" -- and would supplant the lower penalties in those provisions with the substantially
higher penalties in§ 1512(c). It is not too much of an exaggeration to say that, if§ 1512(c)(2) can
be read as broadly as being proposed, then virtually all Federal obstruction law could be reduced
to this single clause.

Needless to say, it is highly implausible that such a revolution in obstruction law was intended, or
would have gone uncommented upon, when (c)(2) was enacted. On the contrary, the legislative
history makes plain that Congress had a more focused purpose when it enacted (c)(2). That
subsection was enacted in 2002 as part of the Sarbanes-Oxley Act. That statute was prompted by
Enron's massive accounting fraud and revelations that the company's outside auditor, Arthur
Andersen, had systematically destroyed potentially incriminating documents. Subsection (c) was
added to Section 1512 explicitly as a "loophole" closer meant to address the fact that the existing
section 1512(b) covers document destruction only where a defendant has induced another person
to do it and does not address document destruction carried out by a defendant directly.

As reported to the Senate, the Corporate Fraud Accountability Act was expressly designed to
"clarify and close loopholes in the existing criminal laws relating to the destruction or fabrication
of evidence and the preservation of financial and audit records." S. Rep. No. 107-146, at 14-15.
Section 1512(c) did not exist as part of the original proposal. See S. 2010, 107th Cong. (2002).
Instead, it was later introduced as an amendment by Senator Trent Lott in July 2002. 148 Cong.
Rec. S6542 (daily ed. July 10, 2002). Senator Lott explained that, by adding new § I512(c), his
proposed amendment:
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          would enact stronger laws against document shredding. Current law prohibits
          obstruction of justice by a defendant acting alone, but only if a proceeding is
          pending and a subpoena has been issued for the evidence that has been
          destroyed or altered .... (T]his section would allow the Government to charge
          obstruction against individuals who acted alone, even if the tampering took
          place prior to the issuance of a grand jury subpoena. I think this is something
          we need to make clear so we do not have a repeat of what we saw with the
          Enron matter earlier this year.

Id. at S6545 (statement of Sen. Lott) (emphasis supplied). Senator Orrin Hatch, in support of
Senator Lott's amendment, explained that it would "close [] (the] loophole" created by the available
obstruction statutes and hold criminally liable a person who, acting alone, destroys documents. Id.
at S6550 (statement of Sen. Hatch). The legislative history thus confirms that§ 1512(c) was not
intended as a sweeping provision supplanting wide swathes of obstruction law, but rather as a
targeted gap-filler designed to strengthen prohibitions on the impairment of evidence.

       Not only is an all-encompassing reading of § 1512(c)(2) contrary to the language and
manifest purpose of the statute, but it is precluded by a fundamental canon of statutory construction
applicable to statutes of this sort. Statutes must be construed with reference to the constitutional
framework within which they operate. E.g., Gregory v. Ashcroft, 501 U.S. 452, 460 (1991).
Reading § 1512(c)(2) broadly to criminalize the President's facially-lawful exercises of his
removal authority and his prosecutorial discretion, based on probing his subjective state of mind
for evidence of an "improper" motive, would obviously intrude deeply into core areas of the
President's constitutional powers. It is well-settled that statutes that do not expressly apply to the
President must be construed as not applying to the President if such application would involve a
possible conflict with the President's constitutional prerogatives. See, e.g., Franklin v.
Massachusetts, 505 U.S. 788, 801 ( 1992). OLC has long rigorously enforced this "clear statement' 1
rule to limit the reach of broadly worded statutes so as to prevent undue intrusion into the
President's exercise of his Constitutional discretion.

        As OLC has explained, the "clear statement" rule has two sources. First, it arises from the
long-recognized "cardinal principle" of statutory interpretation that statutes be construed to avoid
raising serious constitutional questions. Second, the rule exists to protect the ''usual constitutional
balance" between the branches contemplated by the Framers by "requir[ing] an express statement
by Congress before assuming it intended" to impinge upon Presidential authority. Franklin, 505
U.S. at 801; see, e.g., Application of 28 U.S.C. §458 to Presidential Appointments of Federal
Judges, 19 Op. O.L.C. 350 (1995).

        This clear statement rule has been applied frequently by the Supreme Court as well as the
Executive branch with respect to statutes that might otherwise, if one were to ignore the
constitutional context, be susceptible of an application that would affect the President's
constitutional prerogatives. For instance, in Franklin the Court was called upon to determine
whether the Administrative Procedure Act ("APA"), 5 U.S.C §§ 701-706, authorized "abuse of
discretion" review of final actions by the President. Even though the statute defined reviewable
action in a way that facially could include the President, and did not list the President among the
express exceptions to the APA, Justice O'Connor wrote for the Court:
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          [t]he President is not [expressly] excluded from the APA's purview, but he is
          not explicitly included, either. Out of respect for the separation of powers and
          the unique constitutional position of the President, we find that textual silence
          is not enough to subject the President to the provisions of the APA. We would
          require an express statement by Congress before assuming it intended the
          President's performance of his statutory duties to be reviewed for abuse of
          discretion.

505 U.S. at 800-01. To amplify, she continued, "[a]s the APA does not expressly allow review of
the President's actions, we must presume that his actions are not subject to its requirements." Id. at
801.

        Similarly, in Public Citizen v. United States Dep't of Justice, 491 U.S. 440 (1989), the
Court held that the Federal Advisory Committee Act ("FACA"), 5 U.S.C. app. § 2, does not apply
to the judicial recommendation panels of the American Bar Association because interpreting the
statute as applying to them would raise serious constitutional questions relating to the President's
constitutional appointment power. By its terms, FACA applied to any advisory committee used by
an agency "in the interest of obtaining advice or recommendations for the President." 5 U.S.C.
app. § 3(2(c). While acknowledging that a "straightforward reading" of the statute's language
would seem to require its application to the ABA committee, Public Citizen, 491 U.S. at 453, the
Court held that such a reading was precluded by the "cardinal principle" that a statute be interpreted
to avoid serious constitutional question." Id. at 465-67. Notably, the majority stated, "[o]ur
reluctance to decide constitutional issues is especially great where, as here, they concern the
relative powers of coordinate branches of government," and "[t]hat construing FACA to apply to
the Justice Department's consultations with the ABA Committee would present formidable
constitutional difficulties is undeniable." Id. at 466.

       The Office of Legal Counsel has consistently "adhered to a plain statement rule: statutes
       that do not expressly apply to the President must be construed as not applying to the
       President, where applying the statute to the President would pose a significant question
       regarding the President's constitutional prerogatives." E.g, The Constitutional Separation
       of Powers Between the President and Congress, _ Op. 0.L.C. 124, 178 (1996);
       Application of 28 U.S.C. §458 to Presidential Appointments of Federal Judges, 19 Op.
       O.L.C. 350 (1995).

        The Department has applied this principle to broadly-worded criminal statutes, like the one
at issue here. Thus, in a closely analogous context, the Department has long held that the conflict­
of-interest statute, 18 U.S.C § 208, does not apply to the President. That statute prohibits any
"officer or employee of the executive branch" from "participat[ing] personally and substantially"
in any particular matter in which he or she bas a personal financial interest. Id In the leading
opinion on the matter, then-Deputy Attorney General Laurence Silberman determined that the
legislative history disclosed no intention to cover the President and doing so would raise "serious
questions as to the constitutionality" of the statute, because the effect of applying the statute to the
President would "disempower" the President from performing his constitutionally-prescribed
functions as to certain matters . See Memorandum for Richard T. Burress, Office of the President,
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from Laurence H Silberman, Deputy Attorney General, Re: Conflict of Interest Problems Arising
out of the President's Nomination of Nelson A. Rockefeller to be Vice President under the Twenty­
Fifth Amendment to the Constitution at 2, 5 (Aug. 28, 1974).

         Similarly, OLC opined that the Anti-Lobbying Act, I 8 U.S.C.§ 1913, does not apply fully
against the President. See Constraints Imposed by 18 US. C. § 1913 on Lobbying Efforts, 13 Op.
O.L.C. 300, 304-06 (1989). The Anti-Lobbying Act prohibits any appropriated funds from being
"used directly or indirectly to pay for any personal service, advertisement, telegram, telephone,
letter, printed or written matter, or other device, intended or designed to influence in any manner
a Member of Congress." 18 U.S.C.§ I 913. The statute provided an exception for communications
by executive branch officers and employees if the communication was made pursuant to a request
by a member of Congress or was a request to Congress for legislation or appropriations. OLC
concluded that applying the Act as broadly as its terms would otherwise allow would raise serious
constitutional questions as an infringement of the President's Recommendations Clause power.

        In addition to the "clear statement" mle, other canons of statutory construction preclude
giving the residual clause in§ l 512(c)(2) the unbounded scope proposed by Mueller's obstruction
theory. As elaborated on in the ensuing section, to read the residual clause as extending beyond
evidence impairment, and to apply it to any that "corruptly" affects a proceeding, would raise
serious Due Process issues. Once divorced from the concrete standard of evidence impairment,
the residual clause defines neither the crime's actus reus (what conduct amounts to obstruction)
nor its mens rea (what state of mind is "corrupt") "with sufficient definiteness that ordinary people
can understand what conduct is prohibited," or "in a manner that does not encourage arbitrary and
discriminatory enforcement." See e.g. McDonnell v. United States, 136 S.Ct. at 2373. This
vagueness defect becomes even more pronounced when the statute is applied to a wide range of
public officials whose normal duties involve the exercise of prosecutorial discretion and the
conduct and management of official proceedings. The "cardinal rule" that a statute be interpreted
to avoid serious constitutional questions mandates rejection of the sweeping interpretation of the
residual clause proposed by Mueller.

        Even if the statute's plain meaning, fortified by the "clear statement" rule, were not
dispositive, the fact that§ 1512 is a criminal statute dictates a narrower reading than Mueller's all­
encompassing interpretation. Even if the scope of§ 1512(c)(2) were ambiguous, under the "rule
of lenity," that ambiguity must be resolved against the Government's broader reading. See, e.g.,
United States v. Granderson, 511 U.S. 39, 54 (1994) ("In these circumstances - where text,
stmcture, and history fail to establish that the Government's position is unambiguously correct -­
we apply the rule of lenity and resolve the ambiguity in [the defendant's] favor.")

        In sum, the sweeping construction of § 1512(c)'s residual clause posited by Mueller's
obstruction theory is novel and extravagant. It is contrary to the statute's plain language, structure,
and legislative history. Such a broad reading would contravene the "clear statement" rule of
statutory construction, which the Department has rigorously adhered to in interpreting statutes,
like this one, that would otherwise intrude on Executive authority. By it terms,§ 1512 is intended
to protect the truth-finding function of a proceeding by prohibiting acts that would impair the
availability or integrity of evidence. The cases applying the "residual clause" have fallen within
this scope. The clause has never before been applied to facially-lawful discretionary acts of
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Executive branch official. Mueller's overly-aggressive use of the obstruction laws should not be
embraced by the Department and cannot support interrogation of the President to evaluate his
subjective state of mind.



II. Applying §1512(c)(2) to Review Facially-Lawful Exercises of the President's Removal
Authority and Prosecutorial Discretion Would Impermissibly Infringe on the President's
Constitutional Authority and the Functioning of the Executive Branch.

        This case implicates at least two broad discretionary powers vested by the Constitution
exclusively in the President. First, in removing Corney as director of the FBI there is no question
that the President was exercising one of his core authorities under the Constitution. Because the
President has Constitutional responsibility for seeing that the laws are faithfully executed, it is
settled that he has "illimitable" discretion to remove principal officers carrying out his Executive
functions. See Free Enterprise Fund v. Public Company Accounting Oversight Board, 130 S.Ct.
3138, 3152 (201O); Myers v. United States, 272 U.S. 52 (1926). Similarly, in commenting to
Corney about Flynn's situation - to the extent it is taken as the President having placed his thumb
on the scale in favor of lenity - the President was plainly within his plenary discretion over the
prosecution function. The Constitution vests all Federal law enforcement power, and hence
prosecutorial discretion, in the President. The President's discretion in these areas has long been
considered "absolute," and his decisions exercising this discretion are presumed to be regular and
are generally deemed non-reviewable. See, e.g., United States v. Armstrong, 517 U.S. 456, 464
(1996); United States v. Nixon, 418 U.S. 683, 693 (1974); see generally S. Prakash, The Chief
Prosecutor, 73 Geo. Wash. L. Rev. 521 (2005)

       The central problem with Mueller's interpretation of §1512(c)(2) is that, instead of
applying the statute to inherently wrongful acts of evidence impairment, he would now define the
actus reus of obstruction as any act, including facially lawful acts, that influence a proceeding.
However, the Constitution vests plenary authority over law enforcement proceedings in the
President, and therefore one of the President's core constitutional authorities is precisely to make
decisions "influencing" proceedings. In addition, the Constitution vests other discretionary powers
in the President that can have a collateral influence on proceedings - including the power of
appointment, removal, and pardon. The crux of Mueller's posilion is that, whenever the President
exercises any of these discretionary powers and thereby "influences" a proceeding, he has
completed the actus reus of the crime of obstruction. To establish guilt, all that remains is
evaluation of the President's state of mind to divine whether he acted with a "corrupt" motive.

        Construed in this manner, §1512(c)(2) would violate Article II of the Constitution in at
least two respects:

First, Mueller's premise appears to be that, when a proceeding is looking into the President's own
conduct, it would be "corrupt" within the meaning of §1512(c)(2) for the President to attempt to
influence that proceeding. In other words, Mueller seems to be claiming that the obstruction statute
effectively walls off the President from exercising Constitutional powers over cases in which his
own conduct is being scrutinized. This premise is clearly wrong constitutionally. Nor can it be
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reconciled with the Department's longstanding position that the "conflict ofinterest" laws do not,
and cannot, apply to the President, since to apply them would impermissibly "disempower" the
President from supervising a class of cases that the Constitution grants him the authority to
supervise. Under the Constitution, the President's authority over law enforcement matters is
necessarily all-encompassing, and Congress may not exscind certain matters from the scope ofhis
responsibilities. The Framers' plan contemplates that the President's law enforcement powers
extend to all matters, including those in which he bad a personal stake, and that the proper
mechanism for policing the President's faithful exercise of that discretion is the political process
- that is, the People, acting either directly, or through their elected representatives in Congress.

Second, quite apart from this misbegotten effort to "disempower" the President from acting on
matters in which he has an interest, defining facially-lawful exercises of Executive discretion as
potential crimes, based solely on the President's subjective motive, would violate Article II of the
Constitution by impennissibly burdening the exercise of core discretionary powers within the
Executive branch. The prospect of criminal liability based solely on the official's state of mind,
coupled with the indefinite standards of "improper motive" and "obstruction," would cast a pall
over a wide range of Executive decision-making, chill the exercise of discretion, and expose to
intrusive and free-ranging examination of the President's (and his subordinate's) subjective state
of mind in exercising that discretion.

    A. Section 1512(c)(2) May Not "Disempower" the President from Exercising His Law
    Enforcement Authority Over a Particular Class of Matters.

        As discussed further below, a fatal flaw in Mueller's interpretation of§ 1512(c)(2) is that,
while defining obstruction solely as acting "corruptly," Mueller offers no definition of what
"corruptly" means. It appears, however, that Mueller has in mind particular circumstances that he
feels may give rise to possible "corruptness" in the current matter. His tacit premise appears to be
that, when an investigation is looking into the President's own conduct, it would be "corrupt" for
the President to attempt to influence that investigation.

          On a superficial level, this outlook is unsurprising: at first blush it accords with the old
Roman maxim that a man should not be the judge in his own case and, because "conflict-of­
interest" laws apply to all the President's subordinates, DOJ prosecutors are steeped in the notion
that it is illegal for an official to touch a case in which be has a personal stake. But constitutionally,
as applied to the President, this mindset is entirely misconceived: there is no legal prohibition - as
opposed a political constraint -- against the President's acting on a matter in which he has a
personal stake.

        The Constitution itselfplaces no limit on the President's authority to act on matters which
concern him or his own conduct. On the contrary, the Constitution's grant of law enforcement
power to the President is plenary. Constitutionally, it is wrong to conceive of the President as
simply the highest officer within the Executive branch hierarchy. He alone is the Executive
branch. As such, he is the sole repository of all Executive powers conferred by the Constitution.
Thus, the full measure oflaw enforcement authority is placed in the President's hands, and no limit
is placed on the kinds of cases subject to his control and supervision. While the President has
subordinates --the Attorney General and DOJ lawyers -- who exercise prosecutorial discretion on
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his behalf, they are merely "his hand," Ponzi v. Fessenden, 258 U.S. 254, 262 (1922) - the
discretion they exercise is the President's discretion, and their decisions are legitimate precisely
because they remain under his supervision, and he is still responsible and politically accountable
for them.

        Nor does any statute purport to restrict the President's authority over matters in which he
has an interest. On the contrary, in 1974, the Department concluded that the conflict-of interest­
laws cannot be construed as applying to the President, expressing "serious doubt as to the
constitutionality" of a statute that sought "to disempower" the President from acting over particular
matters. Letter to Honorable Howard W. Cannon from Acting Attorney General Laurence H.
Silberman, dated September 20, 1974; and Memorandum for Richard T. Burress, Office of the
President, from Laurence H. Silberman, Deputy Attorney General, Re: Conflict of Interest
Problems Arising out of the President's Nomination ofNelson A. Rockefeller to be Vice President
under the Twenty-Fifth Amendment to the Constitution at 2, .5 (Aug. 28, 1974). As far as I am
aware, this is the only instance in which it bas previously been suggested that a statute places a
class of law enforcement cases "off lim*" to the President's supervision based on his personal
interest in the matters. The Department rejected that suggestion on the ground that Congress could
not "disempower" the President from exercising his supervisory authority over such matters. For
all the same reasons, Congress could not make it a crime for the President to exercise supervisory
authority over cases in which his own conduct might be at issue.

        The illimitable nature of the President's law enforcement discretion stems not just from the
Constitution's plenary grant of those powers to the President, but also from the ''unitary" character
of the Executive branch itself. Because the President alone constitutes the Executive branch, the
President cannot "recuse" himself. Just as Congress could not en masse recuse itself, leaving no
source of the Legislative power, the President cannot take a holiday from his responsibilities. It is
in the very nature of discretionary power that ultimate authority for making the choice must be
vested in some final decision-maker. At the end of the day, there truly must be a desk at which
"the buck stops." In the Executive, final responsibility must rest with the President. Thus, the
President, "though able to delegate duties to others, cannot delegate ultimate responsibility or the
active obligation to supervise that goes with it." Free Enterprise Fund v. Public Co. Acctg.
Oversight Bd., 130 S. Ct. 3138, 3154 (2010) (quoting Clinton v. Jones, 520 U.S. 681, 712-713
(1997) (Breyer, J., concurring in judgment)) (emphasis added).

        In framing a Constitution that entrusts broad discretion to the President, the Framers chose
the means they thought best to police the exercise of that discretion. The Framers' idea was that,
by placing all discretionary law enforcement authority in the hands of a single "Chief Magistrate"
elected by all the People, and by making him politically accountable for all exercises of that
discretion by himself or his agents, they were providing the best way of ensuring the "faithful
exercise" of these powers. Every four years the people as a whole make a solemn national decision
as to the person whom they trust to make these prudential judgments. In the interim, the people's
representatives stand watch and have the tools to oversee, discipline, and, if they deem appropriate,
remove the President from office. Thus, under the Framers' plan, the determination whether the
President is making decisions based on "improper" motives or whether he is "faithfully"
discharging his responsibilities is left to the People, through the election process, and the Congress,
through the Impeachment process.
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        The Framers' idea of political accountability has proven remarkably successful, far more
so than the disastrous experimentation with an "independent" counsel statute, which both parties
agreed to purge from our system. By and large, fear of political retribution has ensured that, when
confronted with serious allegations of misconduct within an Administration, Presidents have felt
it necessary to take practical steps to assure the people that matters will be pursued with integrity.
But the measures that Presidents have adopted are voluntary, dictated by political prudence, and
adapted to the situation; they are not legally compelled. Moreover, Congress has usually been
quick to respond to allegations of wrongdoing in the Executive and has shown itself more than
willing to conduct investigations into such allegations. The fact that President is answerable for
any abuses of discretion and is ultimately subject to the judgment of Congress through the
impeachment process means that the President is not the judge in bis own cause. See Nixon v.
Harlow, 457 U.S. 731, 757-58 n.4 l (1982)(" The remedy of impeachment demonstrates that the
President remains accountable under law for his misdeeds in office.")

        Mueller's core premise -- that the President acts "corruptly" if he attempts to influence a
proceeding in which his own conduct is being scrutinized- is untenable. Because the Constitution,
and the Department's own rulings, envision that the President may exercise his supervisory
authority over cases dealing with his own interests, the President transgresses no legal limitation
when be does so. For that reason, the President's exercise of supervisory authority over such a case
does not amount to "corruption." It may be in some cases politically unwise; but it is not a crime.
Moreover, it cannot be presumed that any decision the President reaches in a case in which he is
interested is "improperly" affected by that personal interest. Implicit in the Constitution's grant of
authority over such cases, and in the Department's position that the President cannot be
"disempowered" from acting in such cases, is the recognition that Presidents have the capacity to
decide such matters based on the public's long-term interest.

       In today's world, Presidents are frequently accused of wrongdoing. Let us say that an
outgoing administration - say, an incumbent U.S. Attorney -- launches a "investigation" of an
incoming President. The new President knows it is bogus, is being conducted by political
opponents, and is damaging his ability to establish his new Administration and to address urgent
matters on behalf of the Nation. It would neither be "corrupt'' nor a crime for the new President
to terminate the matter and leave any further investigation to Congress. There is no legal principle
that would insulate the matter from the President's supervisory authority and mandate that he
passively submit while a bogus investigation runs its course.

        At the end of the day, I believe Mueller's team would have to concede that a President does
not act "corruptly" simply by acting on - even terminating - a matter that relates to his own
conduct. But I suspect they would take the only logical fallback position from that - namely, that
it would be "corrupt" if the President had actually engaged in unlawful conduct and then blocked
an investigation to "cover up" the wrongdoing. In other words, the notion would be that, if an
investigation was bogus, the President ultimately had legitimate grounds for exercising his
supervisory powers to stop the matter. Conversely, if the President had really engaged in
wrongdoing, a decision to stop the case would have been a corrupt cover up. But, in the latter case,
the predicate for finding any corruption would be first finding that the President had engaged in
the wrongdoing he was allegedly trying to cover up. Under the particular circumstances here, the
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issue ofobstruction only becomes ripe after the alleged collusion by the President or his campaign
is established first. While the distinct crime ofobstruction can frequently be committed even if the
underlying crime under investigation is never established, that is true only where the obstruction
is an act that is wrongful in itself-- such as threatening a witness, or destroying evidence. But here,
the only basis for ascribing "wrongfulness" (i.e., an improper motive) to the President's actions is
the claim that he was attempting to block the uncovering of wrongdoing by himself or his
campaign. Until Mueller can show that there was unlawful collusion , he cannot show that the
President had an improper "cover up" motive.

         For reasons discussed below, I do not subscribe to this notion. But here it is largely an
academic question. Either the President and his campaign engaged in illegal collusion or they did
not. If they did, then the issue of "obstruction" is a sideshow. However, if they did not, then the
cover up theory is untenable. And, at a practical level, in the absence of some wrongful act of
evidence destruction, the Department would have no business pursuing the President where it
cannot show any collusion. Mueller should get on with the task at hand and reach a conclusion on
collusion. In the meantime, pursuing a novel obstruction theory against the President is ·not only
premature but - because it forces resolution of numerous constitutional issues - grossly
irresponsible.

    B. Using Obstruction Laws to Review the President's Motives for Making Facially­
    Lawful Discretionary Decisions Impermissibly Infringes o,i tlte President's
    Constitutional Powers.

        The crux of Mueller's claim here is that, when the President performs a facially-lawful
discretionary action that influences a proceeding, he may be criminally investigated to determine
whether he acted with an improper motive. It is hard to imagine a more invasive encroachment on
Executive authority.

1. The Constitution Vests Discretion in the President To Decide Whether To Prosecute Cases or
To Remove Principal Executive Officers, and Those Decisions are Not Reviewable.

       The authority to decide whether or not to bring prosecutions, as well as the authority to
appoint and remove principal Executive officers, and to grant pardons, are quintessentially
Executive in character and among the discretionary powers vested exclusively in the President by
the Constitution. When the President exercises these discretionary powers, it is presumed he does
so lawfully, and his decisions are generally non-reviewable.

        The principle of non-reviewability inheres in the very reason for vesting these powers in
the President in the first place. In governing any society certain choices must be made that cannot
be determined by tidy legal standards but require prudential j udgment. The imperative is that there
must be some ultimate decision-maker who has the final, authoritative say -- at whose desk the
"buck" truly does stop. Any system whereby other officials, not empowered to make the decision
themselves, are permitted to review the "final" decision for "improper motives" is antithetical both
to the exercise ofdiscretion and its finality. And, even ifreview can censor a particular choice, it
leaves unaddressed the fact that a choice still remains to be made, and the reviewers have no power
to make it. The prospect ofreview itself undermines discretion. Wayte v. United States, 470 U. S.
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598,607-608 (1985); cf Franklin v. Massachusetts, 505 U.S. at 801. But any regime that proposes
to review and punish decision-makers for "improper motives" ends up doing more harm than good
by chilling the exercise of discretion, "dampen[ing] the ardor of all but the most resolute .. .in the
unflinching discharge of their duties." Gregoire v. Biddle. 177 F. 2d 579, 581 (2d Cir.
1949)(Leamed Hand). In the end, the prospect of punishment chills the exercise of discretion over
a far broader range of decisions than the supposedly improper decision being remedied.
McDonnell, 136 S.Ct. at 2373.

         For these reasons, the law has erected an array of protections designed to prevent, or strictly
limit, review of the exercise of the Executive djscretionary powers. See, e.g., Nixon v. Fitzgerald,
457 US 731,749 (1982) (the President's unique discretionary powers require that he have absolute
immunity from civil suit for his official acts). An especially strong set of rules has been put in
place to insuiate those who exercise prosecutorial discretion from second-guessing and the
possibility of punishment. See. e.g., Imbler v. Pachtman, 424 U. S. 409 (1976); Yaselli v. Goff, 275
U. S. 503 (1927), affg 12 F. 2d 396 (2d Cir. 1926). Thus, "it is entirely clear that the refusal to
prosecute cannot be the subject of judicial review." See, e.g., ICC v. Brotherhood of Locomotive
Engineers, 482 U.S. 270,283 (1987); United States v. Cox, 342 F.2d 167, 171-72 (5th Cir. 1965)
(The U.S. Attorney's decision not to prosecute even where there is probable cause is "a matter of
executive discretion which cannot be coerced or reviewed by the courts."); see also Heckler v.
Chaney, 470 U.S. 821,831 (1985).

        Even when there is a prosecutorial decision to proceed with a case, the law generally
precludes review or, in the narrow circumstances where review is permitted, limits the extent to
which the decision-makers' subjective motivations may be examined. Thus 1 a prosecutor's
decision to bring a case is generally protected from civil liability by absolute immunity, even if
the prosecutor had a malicious motive. Yaselli v. Goff, 275 U. S. 503 (1927), affg 12 F. 2d 396 (2d
Cir. 1926). Even where some review is permitted,absent a claim of selective prosecution based on
an impermissible classification, a court ordinarily will not look into the prosecutor's real
motivations for bringing the case as long as probable cause existed to support prosecution. See
Bordenkircher v. Hayes, 434 U.S. 357,364 (1978). Further, even when there is a claim of selective
prosecution based on an impermissible classification, courts do not permit the probing of the
prosecutor's subjective state of mind until the plaintiff bas first produced objective evidence that
the policy under which he has been prosecuted bad a discriminatory effect United States v.
Armstrong, 517 U.S. 456 (1996). The same considerations undergird the Department's current
position in Hawaii v. Trump, where the Solicitor General is arguing that, in reviewing the
President's travel ban, a court may not look into the President's subjective motivations when the
government has stated a facially legitimate basis for the decision. (SG's Merits Brie/at 61).

In short, the President's exercise of its Constitutional discretion is not subject to review for
"improper motivations" by lesser officials or by the courts. The judiciary has no authority "to
enquire how the executive, or executive officers, perform duties in which they have a discretion.
Questions, in their nature political, or which are, by the constitution and laws, submitted to the
executive, can never be made" in the courts. Marbury v. Madison, 1 Cranch (5 U.S.) 137, 170
(1803).
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2. Threatening criminal liability for facially-lawful exercises of discretion, based solely on the
subjective motive, would impermissibly burden the exercise of core Constitutional powers within
the Executive branch..

        Mueller is effectively proposing to use the criminal obstruction law as a means of
reviewing discretionary acts taken by the President when those acts influence a proceeding.
Mueller gets to this point in three steps. First, instead of confining § 1512(c)(2) to inherently
wrongful acts of evidence impairment, he would now define the actus reus of obstruction as any
act that influences a proceeding. Second, he would include within that category the official
discretionary actions taken by the President or other public officials carrying out their
Constitutional duties, including their authority to control all law enforcement matters. The net
effect of this is that, once the President or any subordinate takes any action that influences a
proceeding, he has completed the actus reus of the crime of obstruction. To establish guilt, all that
remains is evaluation of the President's or official's subjective state of mind to divine whether he
acted with an improper motive.

        Wielding § 1512(c)(2) in this way preempts the Framers' plan of political accountability
and violate Article II of the Constitution by impermissibly burdening the exercise of the core
discretionary powers within the Executive branch. The prospect of criminal prosecution based
solely on the President's state of mind, coupled with the indefinite standards of"improper motive"
and "obstruction," would cast a pall over a wide range of Executive decision-making, chill the
exercise of discretion, and expose to intrusive and free-ranging examination the President's (or his
subordinate's) subjective state of mind in exercising that discretion

        Any system that threatens to punish discretionary actions based on subjective motivation
naturally has a substantial chilling effect on the exercise of discretion. But Mueller's proposed
regime would mount an especially onerous and unprecedented intrusion on Executive authority.
The sanction that is being threatened for improperly-motivated actions is the most severe possible
- personal criminal liability. Inevitably, the prospect of being accused of criminal conduct, and
possibly being investigated for such, would cause officials "to shrink" from making potentially
controversial decisions and sap the vigor with which they perform their duties. McDonnell v.
United States, 136 S.Ct. at 2372-73.

         Further, the-chilling effect is especially powerful where, as here, liability turns solely on
the official's subjective state of mind. Because charges of official misconduct based on improper
motive are"easy to allege and hard to disprove," Hartman v. Moore, 547 U.S. 250, 257-58 (2006),
Mueller's regime substantially increases the likelihood of meritless claims, accompanied by the
all the risks of defending against them. Moreover, the review contemplated here would be far more
intrusive since it does not turn on an objective standard - such as the presence in the record of a
reasonable basis for the decision - but rather requires probing to determine the President's actual
subjective state of mind in reaching a decision. As the Supreme Court has observed, Harlow v.
Fitzgerald, 457 U.S. 800, 816-17 ( 1982), even when faced only with civil liability, such an inquiry
is especially disruptive:

           [l]t now is clear that substantial costs attend the litigation of the subjective
           good faith of government officials. Not only are there the general costs of
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          subjecting officials to the risks of trial - distraction of officials from their
          governmental duties, inhibition of discretionary action, and deterrence of able
          people from public service. There are special costs to "subjective" inquiries
          of this kind. . ..[T]he judgments surrounding discretionary action almost
          inevitably are influenced by the decisionmaker's experiences, values, and
          emotions. These variables ...frame a background in which there often is no
          clear end to the relevant evidence. Judicial inquiry into subjective motivation
          therefore may entail broad-ranging discovery .... Inquiries of this kind can
          be peculiarly disruptive of effective government.


        Moreover, the encroachment on the Executive function is especially broad due to the wide
range of actors and actions potentially covered. Because Mueller defines the actus reus of
obstruction as any act that influences a proceeding, he is including not just exercises of
prosecutorial discretion directly deciding whether a case will proceed or not, but also exercises of
any other Presidential power that might collaterally affect a proceeding, such as a removal,
appointment, or grant of pardon. And, while Mueller's immediate target is the President's exercise
of his discretionary powers, his obstruction theory reaches all exercises of prosecutorial discretion
by the President's subordinates, from the Attorney General, down the most junior line prosecutor.
It also necessarily applies to all personnel, management, and operational decision by those who
are responsible for supervising and conducting litigation and enforcement matters - civil, criminal
or administrative -- on the President's behalf.

         A fatal flaw with Mueller's regime - and one that greatly exacerbates its chilling effect -­
is that, while Mueller would criminalize any act "corruptly" influencing a proceeding, Mueller can
offer no definition of "corruptly." What is the circumstance that would make an attempt by the
President to influence a proceeding "corrupt?" Mueller would construe "corruptly" as referring to
one's purpose in seeking to influence a proceeding. But Mueller provides no standard for
determining what motives are legal and what motives are illegal. ls an attempt to influence a
proceeding based on political motivations "corrupt?" Is an attempt based on self-interest? Based
on personal career considerations? Based on partisan considerations? On friendship or personal
affinity? Due process requires that the elements of a crime be defined "with sufficient definiteness
that ordinary people can understand what conduct is prohibited," or "in a manner that does not
encourage arbitrary and discriminatory enforcement." See McDonnell, 136 S.Ct. at 2373. This,
Mueller's construction of §1512(c)(2) utterly fails to do.

        It is worth pausing on the word "corruptly," because courts have evinced a lot of confusion
over it. It is an adverb, modifying the verbs "influence," "impede," etc. But few courts have
deigned to analyze its precise adverbial mission. Does it refer to "how" the influence is
accomplished- i.e., the means used to influence? Or does it refer to the ultimate purpose behind
the attempt to influence? As an original matter, I think it was clearly used to described the means
used to influence. As the D.C. Circuit persuasively suggested, the word was likely used in its 19th
century transitive sense, connoting the turning ( or corrupting) of something from good and fit for
its purpose into something bad and unfit for its purpose - hence, "corrupting" a magistrate; or
"corrupting" evidence. United States v. Poindexter, 951 F.2d 369 (D.C. Cir.1991). Understood
this way, the ideas behind the obstruction laws come more clearly into focus. The thing that is
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corrupt is the means being used to influence the proceeding. They are inherently wrong because
they involve the corruption of decision-makers or evidence. The culpable intent does not relate to
the actor's ultimate motive for using the corrupt means. The culpable state of mind is merely the
intent that the corrupt means bring about their immediate purpose, which is to sabotage the
proceeding's truth-finding function. The actor's ultimate purpose is irrelevant because the means,
and their immediate purpose, are dishonest and malign. Further, if the actor uses lawful means of
influencing a proceeding- such as asserting an evidentiary privilege, or bringing public opinion
pressure to bear on the prosecutors - then his ultimate motives are likewise irrelevant. See Arthur
Anderson, 544 U.S. at 703-707. Even if the actor is guilty of a crime and his only reason for acting
is to escape justice, his use of lawful means to impede or influence a proceeding are perfectly
legitimate.

        Courts have gotten themselves into a box whenever they have suggested that "corruptly"
is not confined to the use of wrongful means, but can also refer to someone's ultimate motive for
using lawful means to influence a proceeding. The problem, however, is that, as the courts have
consistently recognized, there is nothing inherently wrong with attempting to influence or impede
a proceeding. Both the guilty and innocent have the right to use lawful means to do that What is
the motive that would make the use of lawful means to influence a proceeding "corrupt?" Courts
have been thrown back on listing "synonyms" like "depraved, wicked, or bad." But that begs the
question. What is depraved - the means or the motive? If the latter, what makes the motive
depraved if the means are within one's legal rights? Fortunately for the courts, the cases invariably
involve evidence impairment, and so, after stumbling around, they get to a workable conclusion.
Congress has also taken this route. Poindexter struck down the omnibus clause of §1505 on the
grounds that, as the sole definition of obstruction, the word "corruptly" was unconstitutionally
vague. 951 F.2d at 377-86. Tellingly, when Congress sought to "clarify" the meaning of
"corruptly" in the wake of Poindexter, it settled on even more vague language- "acting with an
improper motive" - and then proceeded to qualify this definition further by adding, "including
making a false or misleading statement, or withholding, concealing, altering, or destroying a
document or other information." 18 U.S.C. § 1515(b). The fact that Congress could not define
"corruptly" except through a laundry list of acts of evidence impairment strongly confirms that, in
the obstruction context, the word has no intrinsic meaning apart from its transitive sense of
compromising the honesty of a decision-maker or impairing evidence.

        At the end of the day then, as long as §1512 is read as it was intended to be read- i.e., as
prohibiting actions designed to sabotage a proceeding's access to complete and accurate evidence
-- the term "corruptly" derives meaning from that context. But once the word "corruptly" is
deracinated from that context, it becomes essentially meaningless as a standard. While Mueller's
failure to define "corruptly" would be a Due Process violation in itself, his application of that
"shapeless" prohibition on public officials engaged in the discharge of their duties impennissibly
encroach on the Executive function by "cast[ing] the pall of potential prosecution" over a broad
range of lawful exercises of Executive discretion. McDonnell, 136 S.Ct. at 2373-74.

       The chilling effect is magnified still further because Mueller's approach fails to define the
kind of impact an action must have to be considered an "obstruction." As long as the concept of
obstruction is tied to evidence impairment, the nature of the actions being prohibited is discernable.
But once taken out of this context, how does one differentiate between an unobjectionable
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"influence" and an illegal "obstruction?" The actions being alleged as obstructions in this case
illustrate the point. Assuming arguendo that the President had motives such that, under Mueller's
theory, any direct order by him to terminate the investigation would be considered an obstruction,
what action short of that would be impermissible? The removal of Corney is presumably being
investigated as "obstructive" due to some collateral impact it could have on a proceeding. But
removing an agency head does not have the natural and foreseeable consequence of obstructing
any proceeding being handled by that agency. How does one gauge whether the collateral effects
of one's actions could impermissibly affect a proceeding?

        The same problem exists regarding the President's comments about Flynn. Even if the
President's motives were such that, under Mueller's theory, he could not have ordered termination
of an investigation, to what extent do comments short of that constitute obstruction? On their face,
the President's comments to Corney about Flynn seem unobjectionable. He made the accurate
observation that Flynn's call with the Russian Ambassador was perfectly proper and made the
point that Flynn, who had now suffered public humiliation from losing his job, was a good man.
Based on this, he expressed the ''hope" that Corney could "see his way clear" to let the matter go.
The formulation that Corney "see his way clear," explicitly leaves the decision with Corney. Most
normal subordinates would not have found these comments obstructive. Would a superior's
questioning the legal merit of a case be obstructive? Would pointing out some consequences of
the subordinate's position be obstructive? Is something really an "obstruction" if it merely is
pressure acting upon a prosecutor's psyche? Is the obstructiveness of pressure gauged objectively
or by how a subordinate subjectively apprehends it?

        The practical implications of Mueller's approach, especially in light of its "shapeless"
concept of obstruction, are astounding. DOJ lawyers are always making decisions that invite the
allegation that they are improperly concluding or constraining an investigation. And these
allegations are frequently accompanied by a claim that the official is acting based on some
nefarious motive. Under the theory now being advanced, any claim that an exercise of
prosecutorial discretion was improperly motived could legitimately be presented as a potential
criminal obstruction. The claim would be made that, unless the subjective motivations of the
decision maker are thoroughly explored through a grand jury investigation, the putative "improper
motive" could not be ruled out.

        In an increasingly partisan environment, these concerns are by no means trivial. For
decades, the Department has been routinely attacked both for its failure to pursue certain matters
and for its decisions to move forward on others. Especially when a house of Congress is held by
an opposing party, the Department is almost constantly being accused of deliberately scuttling
enforcement in a particular class of cases, usually involving the environmental laws. There are
claims that cases are not being brought, or are being brought, to appease an Administration's
political constituency, or that the Department is failing to investigate a matter in order to cover up
its own wrongdoing, or to protect the Administration. Department is bombarded with requests to
name a special counsel to pursue this or that matter, and it is frequently claimed that his reluctance
to do so is based on an improper motive. When a supervisor intervenes in a case, directing a course
of action different from the one preferred by the subordinate, not infrequently there is a tendency
for the subordinate to ascribe some nefarious motive. And when personnel changes are made - as
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for example, removing a U.S. Attorney- there are sometimes claims that the move was intended
to truncate some investigation.

While these controversies have heretofore been waged largely on the field of political combat,
Mueller's sweeping obstruction theory would now open the way for the "criminalization" of these
disputes. Predictably, challenges to the Department's decisions will be accompanied by claims that
the Attorney General, or other supervisory officials, are "obstructing" justice because their
directions are improperly motivated. Whenever the slightest colorable claim of a possible
"improper motive" is advanced, there will be calls for a criminal investigation into possible
"obstruction." The prospect of being accused of criminal conduct, and possibly being investigated
for such, would inevitably cause officials "to shrink" from making potentially controversial
decisions.
